
CASANUEVA, Judge.
We affirm Roosevelt Hill’s conviction for second-degree murder but reverse his sentence. Mr. Hill challenges his equal concurrent sentences of life imprisonment as both a violent career criminal and a prison releasee reoffender. The State concedes the error. See Grant v. State, 770 So.2d 655 (Fla.2000); Sanders v. State, 816 So.2d 1267 (Fla. 2d DCA 2002); Smith v. State, 813 So.2d 1002 (Fla. 4th DCA 2002).
Reversed and remanded to the trial court with directions to vacate the violent career criminal sentence.
PARKER and GREEN, JJ., Concur.
